                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              )      Criminal No. 1:12-00001
                                                )      Judge Trauger
[3] DEVARIO MCFARLAND                           )
                                                )

                                         ORDER

       It is hereby ORDERED that the defendant’s Request For Change of Plea Hearing

(Docket No. 151) is GRANTED. This case is set for a change of plea hearing on Monday, May

20, 2013, at 9:00 a.m.

       It is so ORDERED.

       ENTER this 8th day of May 2013.




                                                ________________________________
                                                      ALETA A. TRAUGER
                                                        U.S. District Judge




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